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                                                        U.S. Department of Justice

                                                        Michael R. Sherwin
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        October 22, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:    United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        We write to respond to your recent discovery requests. On October 20, 2020, you requested
“immediate production of any additional information that has been uncovered by Durham or the
FBI or any federal officer or agent and provided to US Attorney Jensen--and not previously
provided to the defense.” As we have previously disclosed, beginning in January 2020, the United
States Attorney for the Eastern District of Missouri has been conducting a review of the Michael
T. Flynn investigation. Beginning in April 2020, and continuing through October 2020, we have
disclosed on a number of occasions documents identified during that review. We are aware of no
other documents or information at this time that meet the standard for disclosure in the Court’s
Standing Order (Doc. 20).

       You also requested “the original 302 and later drafts . . . , or the data evidencing their
destruction.” The Federal Bureau of Investigation has a well-documented record management
program and retention plan that provides specific instructions for the collection of information, the
maintenance of documents, and the retention or disposal of documents. Those guidelines state that
“[w]orking files, such as preliminary drafts, notes, and other similar materials, are to be destroyed
when the final documents have been approved by the FBI official with authority to do so.” The
policy applies to “all drafts created in any medium.” See Records Management Policy Guide, at
p. 31, available at https://vault.fbi.gov/records-management-policy-guide-0769pg-part-01-of-
01/Records%20Management%20Policy%20Guide%200769PG%20Part%2001%20of%2001/vie
w#document/p4.
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       Here, the FD-302 of your client’s January 24, 2017, interview was created in SENTINEL,
which is the FBI’s electronic records management system for all criminal and intelligence
gathering activities:

               SENTINEL provides FBI employees the ability to create case
               documents and submit them through an electronic workflow
               process. Supervisors, reviewers, and others involved in the approval
               process can review, comment, and approve the insertion of
               documents into the appropriate FBI electronic case files. Upon
               approval, the SENTINEL system serializes and uploads the
               documents into the SENTINEL repositories, where the document
               becomes part of the official FBI case file. SENTINEL maintains an
               auditable record of all transactions.

See Privacy Impact Assessment for the SENTINEL System, May 28, 2014, at p. 1, available at
https://www.fbi.gov/services/information-management/foipa/privacy-impact-
assessments/sentinel.

        In this this case, SSA 1 began drafting the FD-302 on the evening of January 24, 2017.
The FD-302 was electronically accessed by SSA 1 and former DAD Peter Strzok in SENTINEL
on several occasions. The FD-302 was electronically approved by FBI Assistant Director for
Counterintelligence E.W. Priestap on February 15, 2017. Our review of SENTINEL’s audit trail
establishes that no other FBI personnel accessed the FD-302 electronically prior to its approval
and serialization. Consistent with the FBI’s records retention policy, no prior drafts of the FD-302
were maintained within SENTINEL.

        You have previously been provided with three draft versions of the FD-302, dated February
10, 11, and 14, 2017, that were circulated in PDF format by email to FBI personnel for review;
these are the only draft versions of the FD-302 that we have located during our diligent searches.

       Finally, you requested “all the comms retrieved of McCabe with Comey, Page, Strzok,
Baker, Priestap or anyone else about Flynn, Crossfire Razor or any other name for General Flynn
or Michael G. Flynn, and any comms of Comey or any FBI member with anyone in the Obama
White House about Flynn.” As discussed above, we have reviewed those communications and
have disclosed all such communications that we have identified that meet the standard for
disclosure in the Court’s Standing Order (Doc. 20).
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        These materials are covered by the Protective Order entered by the Court on February 21,
2018.
                                            Sincerely,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney

                                            KENNETH C. KOHL
                                            Acting Principal Assistant United States Attorney

                                     By:           /s/
                                            Jocelyn Ballantine
                                            Assistant United States Attorney
